The defendant was convicted of murder in the second degree under the second count of the indictment, and was duly and regularly sentenced to the term of fifty years in the penitentiary, as fixed by the verdict of the jury.
The appellant bases his appeal on the lack of evidence to sustain malice by reason of drunkenness. Sharp v. State,193 Ala. 22, 69 So. 122.
When the evidence disclosed by the bill of exceptions is duly considered, it was sufficient to afford the reasonable inferences and findings of the jury, — that defendant unlawfully killed the deceased with malice. The evidence further discloses a fight, a struggle, the woman killed by strangulation, and that defendant was the guilty agent.
Appellant's counsel urges his drunken condition, and that the woman's death was the result of a drunken row.
Appellant is shown to have called a taxi and to have run, indicating that he was not so drunk as not to have entertained malice. The authorities are collected in 11 Alabama Digest, Homicide, 11. *Page 240 
No reversible error is shown as having intervened at the trial.
The judgment of the circuit court is affirmed.
Affirmed.
ANDERSON, C. J., and BROWN and KNIGHT, JJ., concur.